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  2   4665 MacArthur Court, Suite 280
  3   Newport Beach, CA 92660
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  5   Attorneys for Secured Creditor, Quicken Loans, LLC fka Quicken Loans Inc.
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 10                            UNITED STATES BANKRUPTCY COURT

 11               NORTHERN DISTRICT OF CALIFORNIA – SANTA ROSA DIVISION

 12
 13   In re:                                     )   Case No.: 18-10188
                                                 )   Chapter: 13
 14   DAVID MENDOZA,                             )
                                                 )   Ref No. ALG-1
 15
                            Debtor.              )
 16                                              )   NOTICE OF DEBTOR’S REQUEST FOR
                                                 )   FORBEARANCE EXTENSION DUE TO
 17                                              )   THE COVID-19 PANDEMIC
                                                 )
 18
                                                 )
 19                                              )

 20   TO THE HONORABLE DENNIS MONTALI, UNITED STATES BANKRUPTCY
      JUDGE, THE DEBTOR, THE CHAPTER 13 TRUSTEE, THEIR COUNSEL OF
 21   RECORD, IF ANY, AND ALL OTHER INTERESTED PARTIES:
 22
 23            Quicken Loans, LLC fka Quicken Loans Inc. (“Creditor”), by and through undersigned
 24   counsel, hereby submits Notice to the Court of the Debtor’s request for mortgage payment
 25
      forbearance extension based upon a material financial hardship caused by the COVID-19
 26
      pandemic.
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                                  NOTICE OF REQUEST FOR FORBEARANCE
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  1          The Debtor recently contacted Creditor requesting an extension of the forbearance period
  2   of three months and has elected to not tender mortgage payments to Creditor that would come
  3
      due on the mortgage starting August 1, 2020 through October 31, 2020. Creditor holds a secured
  4
      interest in real property commonly known as 1566 Alegra St., Santa Rosa, CA 95403, as
  5
  6   evidenced by claim number 2 on the Court’s claim register. Creditor, at this time, does not waive

  7   any rights to collect the payments that come due during the forbearance period. If the Debtor
  8
      desires to modify the length of the forbearance period or make arrangements to care for the
  9
      forbearance period arrears, Creditor asks that the Debtor or Counsel for the Debtor make those
 10
      requests through undersigned counsel.
 11
 12          Per the request, Debtor will resume mortgage payments beginning November 1, 2020 and

 13   will be required to cure the delinquency created by the forbearance period (hereinafter
 14
      “forbearance arrears”) by either paying off the loan or reinstating the loan in full. Creditor has
 15
      retained undersigned counsel to seek an agreement with Debtor regarding the cure of the
 16
 17   forbearance arrears and submit that agreement to the Court for approval. If Debtor fails to make

 18   arrangements to fully cure the forbearance arrears, Creditor reserves it rights to seek relief from
 19   the automatic stay upon expiration of the forbearance period.
 20
                                                           Respectfully submitted,
 21
                                                           WRIGHT, FINLAY & ZAK, LLP
 22
 23   Dated: August 10, 2020                               By:    /s/ Arnold L. Graff, Esq.
                                                           Arnold L. Graff, Esq.
 24                                                        Attorneys for Creditor, Quicken Loans, LLC
 25                                                        fka Quicken Loans Inc.

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                                   NOTICE OF REQUEST FOR FORBEARANCE
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  1                                        PROOF OF SERVICE
  2           I am employed in the County of Orange, State of California. I am over the age of
      eighteen (18) and not a party to the within action. My business address is 4665 MacArthur Court,
  3   Suite 200, Newport Beach, California 92660.
  4
               On August 10, 2020, I served the foregoing documents described as NOTICE OF
  5   DEBTOR’S REQUEST FOR FORBEARANCE EXTENSION DUE TO THE COVID-19
      PANDEMIC, on the following individuals by depositing true copies thereof in the United States
  6
      first class mail at Newport Beach, California, enclosed in a sealed envelope, with postage paid,
  7   addressed as follows:

  8          SEE ATTACHED SERVICE LIST
  9
       [X]   (BY MAIL) I caused such envelope with postage thereon fully prepaid to be placed in the
 10          United States mail at Newport Beach, California. I am readily familiar with the firm’s
             business practice for collection and processing of correspondence for mailing with the
 11          U.S. Postal Service pursuant to which practice the correspondence is deposited with the
 12          U.S. Postal Service the same day in the ordinary course of business.
       [ ]   (BY NORCO OVERNITE - NEXT DAY DELIVERY) I placed true and correct copies
 13          of thereof enclosed in a package designated by Norco Overnite with the delivery fees
 14          provided for.

 15    [X]   (BY ELCTRONIC SERVICE) Pursuant to CM/ECF System, registration as a CM/ECF
 16          user constitutes consent to electronic service through the Court’s transmission facilities.
             The Court’s CM/ECF systems sends an e-mail notification of the filing to the parties and
 17          counsel of record listed above who are registered with the Court’s EC/ECF system.
 18
       [X]   (FEDERAL) I declare that I am employed in the office of a member of the bar of this
 19          court at whose direction the service was made.
 20
             I declare under penalty of perjury of the laws of the United States that the foregoing is
 21   true and correct. Executed on August 10, 2020, at Newport Beach, California.
 22
 23            /s/ Erica Baker__
             ERICA BAKER
 24
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  1
                                           SERVICE LIST
  2                                      In re David Mendoza
                                     Bankruptcy Case No.: 18-10188
  3
  4   PARTIES SERVED BY ECF ELECTRONIC MAIL:

  5   David Burchard, Chapter 13 trustee: TESTECF@burchardtrustee.com
  6   Evan Livingstone, Counsel for Debtor: evanmlivingstone@gmail.com
      Office of the U.S. Trustee / SR: USTPRegion17.SF.ECF@usdoj.gov
  7   Arnold L. Graff, Counsel for Quicken Loans Inc.: agraff@wrightlegal.net
  8   PARTIES SERVED BY US MAIL:
  9
      David Mendoza
 10   1566 Alegra St
      Santa Rosa, CA 95403
 11   DEBTOR
 12
      Evan Livingstone
 13   Law Offices of Evan Livingstone
      740 Fourth St #215
 14   Santa Rosa, CA 95404
 15   COUNSEL FOR DEBTOR

 16   David Burchard
      P.O. Box 8059
 17
      Foster City, CA 94404
 18   CHAPTER 13 TRUSTEE

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                                  NOTICE OF REQUEST FOR FORBEARANCE
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